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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA

                         vs.                        CASE NO: 21-00359-005 (PAD)

Luis Roberto Alvarado-Reyes
* * * * * * * * * * * * * * * *


MOTION NOTIFYING BAIL VIOLATION AND REQUESTING THAT THE PROBATION
   OFFICER BE ALLOW TO IMPLEMENT SUGGESTED SUPERVISION PLAN



      COMES NOW, DAVID VAZQUEZ-REYES, U.S. PROBATION OFFICER of this

Honorable Court, providing the following information:

      1. On December 10, 2021, the Honorable Bruce J. McGiverin, U.S. Magistrate

Judge, ordered the defendant’s release on a $10,000 unsecured bond, with drug testing

and other conditions of release.

      2. On February 16, 2022, during a routine home visit, and he provided a urine

sample which yielded positive to the illegal use of marihuana and cocaine. He denied any

use of any controlled substances. The sample was sent for confirmation to the National

Testing Lab and on March 10, 2022, it validated the positive results to cocaine and

marihuana.

      3. On March 23, 2022, the defendant reported to the U.S. Probation Office to

discuss the positive drug tests and he admitted the consumption of cocaine, but he denied

any use of marihuana. On this date, he provided a urine sample which yielded negative

to the illegal use of any controlled substances. Subsequently, he also tested negative on

March 29, 2022 and April 11, 2022.
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       4. As a monitoring strategy, the probation officer has enrolled the defendant in the

Random Drug Testing Program and will closely monitor defendant’s compliance by

monitoring his participation and compliance in the program and continue to conduct

randomly drug testing in the community.

       WHEREFORE, it is respectfully requested that the probation officer be allowed to

implement the recommended supervision plan. Any further violations to the conditions of

release will be promptly reported to the Court for the appropriate action.

       In San Juan, Puerto Rico, this 11th day of April 2022.

                                             Respectfully submitted,

                                             LUIS ENCARNACION-CANALES, CHIEF
                                             U.S. PROBATION OFFICER

                                             s/David E. Vazquez Reyes
                                             David E. Vázquez-Reyes
                                             U.S. Probation Officer
                                             150 Carlos Chardón Ave.
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                                  CERTIFICATE OF SERVICE

       I HEREBY certify that I electronically filed the foregoing motion with the Clerk of

the Court using the CM/ECF system which will send notification of such filing to the parties

in this case.

       In San Juan, Puerto Rico, this 11th day of April 2022.

                                             s/David E. Vazquez Reyes
                                             David E. Vázquez-Reyes
                                             U.S. Probation Officer
